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United States District Court
Southern District of Texas

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David J. Bradley, Clerk of Court

Southern District Of Texas Brownsville Division

 

UNITED STATES OF AMERICA CRIMINAL COMPLAINT

VS.
Case Number: B-18- M”(ng

Jaime MARTINEZ-De La Torre
AO94 068 565 Mexico

I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about July 28, 2018 in Cameron County, in
the Southem District Of Texas defendant(s)

 

an alien who had previously been denied admission, excluded, deported, or removed, knowingly and unlawfully was present in
the United States having been found in Cameron County, Texas, the said defendant having not obtained the consent of the
Attorney General or the Secretary of the Department of Homeland Security to reapply for admission into the United States,

 

in violation of Title 8 United States Code, Section(s) 1326(a)(1)/(b)(l)
I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts:

The defendant was encountered by Border Patrol Agents conducting Linewatch operations near Brownsville, Texas on July 28,
2018. The defendant is a citizen and national of Mexico who was previously deported, excluded or removed from the United
States on July 20, 2015. The defendant was convicted of Alien Unlawfully Found In The United States Af"ter Deportation,
Having Been Previously Convicted of A Felony on August 4, 2014. Record checks revealed that the defendant has not applied
for permission from the proper Authorities to re-enter the United States.

Defendant had S320 Mexican pesos in his possession at time of arrest.

Continued on the attached sheet and made a part of this complaint 1:] Yes No

 

Signature of'Complainant

Roman, Adolfo Border Patrol Agent

Printed Name of Complainant

 

Sworn to before me and signed in my presence,

July 30, 2018 at Brownsville, Texas

Date C?
Ronald G. Morgan U.S. Magistrate Judge w

Name of Judge Title of.ludge / Signature of Judge/

 

